Case 3:22-cr-00012-TES-CHW Document 93-2 Filed 09/18/23 Page 1 of 12
                                                                                                                                                Page 2
                                        Case 3:22-cr-00012-TES-CHW Document 93-2 Filed 09/18/23 Page 2 of 12




1.        Background
The Federal Bureau of Investigation (FBI) Cellular Analysis Survey Team (CAST) was requested by FBI Atlanta Division to analyze cell
phone records for (215) 807-9708 (“target cell phone”). The target cell phone is believed to have been utilized by an individual involved
in the homicide of Elijah Wood on March 19, 2021 in Watkinsville, Georgia and Anthony Jones on July 17, 2021 in Philadelphia,
Pennsylvania.

2.         Methodology
An analysis was performed on the call detail records obtained for the target cell phone. The call detail records documented the
network interaction to and from the target cell phone. Additionally, the records documented the cell tower and cell sector (“cell site”)
which served the cell phone during its activity. Used in conjunction, the call detail records and a list of cell site locations illustrate an
approximate location of the target cell phone when it initiated contact with the network.

2.1          Cell Site Locations
Cell sites in existence during the time of the incident were input into mapping software using latitude/longitude coordinates of the cell
sites provided by the service provider. The cell sites associated with the target cell phone was located utilizing the mapping software
and the plotted cell site data.

3.           Conclusions
A historical cell site analysis was performed on the call detail records for the target cell phone. The methods detailed in Sections 2, and
2.1 were used to produce the attached historical cell site analysis maps. The analysis may not describe or depict all events listed in the
call detail records.


                            Intellectual property of the FBI Cellular Analysis Survey Team. Reproduction in whole or in part is prohibited.
Case 3:22-cr-00012-TES-CHW Document 93-2 Filed 09/18/23 Page 3 of 12
Case 3:22-cr-00012-TES-CHW Document 93-2 Filed 09/18/23 Page 4 of 12
Case 3:22-cr-00012-TES-CHW Document 93-2 Filed 09/18/23 Page 5 of 12
Case 3:22-cr-00012-TES-CHW Document 93-2 Filed 09/18/23 Page 6 of 12
Case 3:22-cr-00012-TES-CHW Document 93-2 Filed 09/18/23 Page 7 of 12
                                                                       Page 8
Case 3:22-cr-00012-TES-CHW Document 93-2 Filed 09/18/23 Page 8 of 12




      Elijah Wood Homicide

             March 19, 2021

        12:00 am – 2:00 am
Case 3:22-cr-00012-TES-CHW Document 93-2 Filed 09/18/23 Page 9 of 12
                                                                        Page 10
Case 3:22-cr-00012-TES-CHW Document 93-2 Filed 09/18/23 Page 10 of 12




   Anthony Jones Homicide

                 July 17, 2021

          2:46 am – 3:41 am
Case 3:22-cr-00012-TES-CHW Document 93-2 Filed 09/18/23 Page 11 of 12
Case 3:22-cr-00012-TES-CHW Document 93-2 Filed 09/18/23 Page 12 of 12
